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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE DANIEL D. DOMENICO

   Civil Action No.: 1:23-cv-01108-DDD-JPO       Date: August 21, 2024
   Courtroom Deputy: Robert R. Keech             Court Reporter: Tammy Hoffschildt


    Parties:                                             Counsel:

    BARRY MORPHEW,                                       Hollis A. Whitson
                                                         Iris Eytan
         Plaintiff,                                      Jane Holse Fisher-Byrialsen

    v.

    CHAFFEE COUNTY, COLORADO, et al.,                    Nicholas C. Poppe
                                                         Eric M. Ziporin
         Defendant.                                      Leslie L. Schluter
                                                         William T. O’Connell, III
                                                         Eden R. Rolland
                                                         Andrew R. McLetchie
                                                         Dmitry B. Vilner
                                                         Jennifer H. Hunt
                                                         Kathleen L. Spalding
                                                         Sarah A. Thomas
                                                         Jonathan N. Eddy


                                     COURTROOM MINUTES


   MOTION HEARING

   9:34 a.m.      Court in session.

   Appearances of counsel.

   Argument by Mr. O’Connell, III, Ms. Schluter, Mr. Eddy, Ms. Eytan, Ms. Hunt, Ms.
   Thomas, Ms. Fisher-Byrialsen, Ms. Whitson, Ms. Hunt.

   10:56 a.m.     Court in recess.

   11:13 a.m.     Court in session.

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   Argument by Mr. Poppe, Mr. McLetchie, Ms. Whitson, Mr. McLetchie, Ms. Whitson, Ms.
   Fisher-Byrialsen, Ms. Eytan, and Mr. Eddy.

   ORDERED: [87] Defendant’s Motion to Dismiss is TAKEN UNDER ADVISEMENT.

   ORDERED: [94] Defendants Alex Walker and Jeffrey Lindsey’s Motion to Dismiss is
            TAKED UNDER ADVISEMENT.

   ORDERED: [95] Defendant Hurlbert’s Motion to Dismiss is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [97] CBI Defendants’ Motion to Dismiss is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [98] Defendant Joseph Cahill’s Fed.R.Civ.P. 12(b)(6) Motion to Dismiss is
            TAKEN UNDER ADVISEMENT.

   ORDERED: [104] Chaffee County Defendants’ Motion to Dismiss is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [108] Defendant Himschoot’s Motion to Dismiss Pursuant to Fed.R.Civ.P.
            12(b)(6) is TAKEN UNDER ADVISEMENT.

   ORDERED: [109] Defendant Hysjulien’s Motion to Dismiss Pursuant to Fed.R.Civ.P.
            12(b)(6) is TAKEN UNDER ADVISEMENT.

   Court indicates that a written order shall follow.

   12:19 p.m.    Court in recess. Hearing concluded. Total in court time: 2:28




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